                   Case 2:16-cv-02225-FMO-MRW Document 15 Filed 06/08/16 Page 1 of 3 Page ID #:143




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                         America, LLC
                       8
                       9                                     UNITED STATES DISTRICT COURT
                     10                         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                     11
                     12 JOSHUA BORKMAN, individually, and on                     CASE NO. 2:16-cv-2225-FMO
                        behalf of other members of the general                   (MRWx)
                     13 public similarly situated,
                                                                                 STIPULATION TO CONTINUE
                     14                       Plaintiff,                         SCHEDULING CONFERENCE
                     15              vs.
                     16 BMW OF NORTH AMERICA, LLC a
                        Delaware limited liability company,
                     17
                                    Defendant.
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& SMITH LLP                                                STIPULATION TO CONTINUE SCHEDULING CONFERENCE
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                   Case 2:16-cv-02225-FMO-MRW Document 15 Filed 06/08/16 Page 2 of 3 Page ID #:144




                       1            Plaintiff Joshua Borkman (“Plaintiff”) and Defendant BMW of North
                       2 America, LLC (“BMW NA”), through their respective undersigned counsel of
                       3 record, hereby stipulate and agree as follows:
                       4            WHEREAS, the Scheduling Conference in this action is currently scheduled
                       5 for June 30, 2016.
                       6            WHEREAS, lead counsel for BMW NA, who is required to attend the
                       7 Scheduling Conference under this Court’s Order Setting Scheduling Conference, is
                       8 scheduled to attend a Fed. R. Civ. P. 30(b)(6) deposition on June 30, 2016 in Los
                       9 Angeles in the case captioned In re Takata Airbag Prod. Liab. Litigation, MDL
                     10 2599 (S.D. Fla. Case No. 15-md-02599), which was set several months before the
                     11 Scheduling Conference was scheduled, involves a foreign witness traveling from
                     12 Japan, and that cannot easily be rescheduled without undue hardship;
                     13             WHEREAS, the parties have not previously requested a continuance of the
                     14 Scheduling Conference;
                     15             WHEREAS, the parties have agreed that in light of this conflict for BMW
                     16 NA’s lead counsel, the Scheduling Conference may be continued, subject to Court
                     17 approval, to July 28, 2016, which is the hearing date on BMW NA’s pending motion
                     18 to dismiss or some other date acceptable to the Court except July 15-25, 2016 and
                     19 August 10-12, 2016, during which lead counsel for BMW NA is unavailable due to
                     20 a family vacation or business travel.
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& SMITH LLP                                        STIPULATION TO CONTINUE SCHEDULING CONFERENCE
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                   Case 2:16-cv-02225-FMO-MRW Document 15 Filed 06/08/16 Page 3 of 3 Page ID #:145




                       1            IT IS HEREBY STIPULATED AND AGREED THAT the Court may enter
                       2 an order that continues the Scheduling Conference currently scheduled for June 30,
                       3 2016 to July 28, 2016, or another date that is convenient for the Court.
                       4 DATED: June 8, 2016
                                                                     LEWIS BRISBOIS BISGAARD & SMITH                    LLP
                       5
                       6                                             By:         /s/ Eric Y. Kizirian
                                                                           Eric Y. Kizirian
                       7
                                                                           Attorneys for Defendant BMW OF
                       8                                                   NORTH AMERICA, LLC
                       9
                           DATED: June 8, 2016                       CAPSTONE LAW APC
                     10
                     11                                              By:         /s/ Robert K. Friedl
                     12                                                    Robert K. Friedl
                                                                           Attorneys for Plaintiff JOSHUA
                     13                                                    BORKMAN
                     14                       Certification of Compliance with C.D. Cal. L.R. 5-4.3.4
                     15             I hereby certify that pursuant to C.D. Cal. L.R. 5-4.3.4, I have obtained the
                     16 authorization from the above signatories representing plaintiff to file the above-
                     17 referenced document, and that the above signatories concur in the filing’s content.
                     18             I certify under penalty of perjury under the laws of the United States of
                     19 America that the foregoing is true and correct. Executed on June 8, 2016.
                     20
                     21 DATED: June 8, 2016                         LEWIS BRISBOIS BISGAARD & SMITH LLP
                     22
                     23                                             By:           /s/ Eric Y. Kizirian
                                                                           Eric Y. Kizirian
                     24                                                    Attorneys for BMW of North America,
                     25                                                    LLC
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& SMITH LLP                                            STIPULATION TO CONTINUE SCHEDULING CONFERENCE
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